          USCA Case #23-3228
                               UNITED STATES COURT OF Filed:
                                   Document #2031501
                                                       APPEALS
                                                             12/14/2023                            Page 1 of 1

                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
                                               Washington, DC 20001-2866
                                      Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: United States of America

                                           v.                               Case No: 23-3228
                    Donald J. Trump


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained       Pro Bono      Appointed (CJA/FPD)         Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)          Intervenor(s)    Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 United States of America




                                                  Counsel Information
Lead Counsel: James I. Pearce

                                                                      Email: james.pearce@usdoj.gov
Direct Phone: ( 202 )      532-4991      Fax: (      )       -

2nd Counsel:     Molly Gaston

                                                                      Email: molly.gaston@usdoj.gov
Direct Phone: ( 202 )      532-4991      Fax: (      )       -

3rd Counsel: Thomas P. Windom

                                                                      Email: thomas.windom@usdoj.gov
Direct Phone: ( 202 )      532-4991      Fax: (      )       -

Firm Name:       Special Counsel's Office

Firm Address: 950 Pennsylvania Ave NW, Washington, DC 20530

                               -                             -        Email:
Firm Phone: (          )                 Fax: (      )

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44                       Save                  Reset Form            Print Form
March 2017 (REVISED)
